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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE, LLP,

                            Plaintiff,
                                                           Case No. 1:25-cv-716 (BAH)
                      v.

 U.S. DEPARTMENT OF JUSTICE, et al.,

                           Defendants.




                        BRIEF FOR AMICI CURIAE
          NATIONAL ASSOCIATION OF CRIMINAL DEFENSE LAWYERS
              AND NEW YORK COUNCIL OF DEFENSE LAWYERS
       IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT




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                                STATEMENT OF INTEREST 1

       Amici curiae National Association of Criminal Defense Lawyers (“NACDL”) and New

York Council of Defense Lawyers (“NYCDL”) represent thousands of advocates across the United

States who are committed to advancing the interests and protecting the rights of persons accused

of crimes.

       NACDL is a nonprofit voluntary professional association that works on behalf of criminal

defense attorneys to ensure justice and due process for those accused of crimes or misconduct. It

has a nationwide membership of many thousands of direct members, and up to 40,000 with

affiliates. NACDL’s members include private criminal defense lawyers, public defenders, military

defense counsel, law professors, and judges. NACDL is the only nationwide professional bar

association for public defenders and private criminal defense lawyers. NACDL files numerous

amicus briefs each year in the Supreme Court and other federal and state courts in cases that present

issues of broad importance to the criminally accused, criminal defense lawyers, and the criminal

legal system as a whole.

       NYCDL is a nonprofit voluntary professional association of over 300 lawyers, including

many former federal prosecutors and federal public defenders, whose principal area of practice is

the defense of criminal cases in the federal courts of New York. NYCDL’s mission includes

protecting the individual rights guaranteed by the Constitution, enhancing the quality of defense

representation, taking positions on important defense issues, and promoting the fair administration

of criminal justice. NYCDL regularly files amicus curiae briefs each year in the Supreme Court,

the Second Circuit Court of Appeals, and other courts in cases that present issues of broad


1
  Pursuant to LcR7(o) and FRAP 29(a)(4)(E), no party’s counsel authored this brief, in whole or
in part. No party or party’s counsel contributed money that was intended to fund preparing or
submitting this brief. No person other than amici curiae or their counsel contributed money that
was intended to fund preparing or submitting this brief.

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importance to defendants in criminal cases, defense lawyers, and the criminal legal system as

a whole.

       This case directly implicates one of amici’s core concerns: protecting the Sixth

Amendment right to counsel. Amici’s participation in this case will offer the Court the perspective

of practitioners who are regularly retained by targets, subjects, and witnesses in criminal

investigations. Executive Order No. 14230, issued on March 6, 2025 and titled “Addressing Risks

from Perkins Coie LLP,” unlawfully imposes punishments on Plaintiff Perkins Coie (for example,

by suspending attorneys’ security clearances and barring them from federal buildings, potentially

including courthouses) and its actual and prospective clients (by directing that government

contractors disclose their business with Perkins Coie so that those contracts can be reviewed by

the Office of Management and Budget). In doing so, it burdens the constitutional right of clients

otherwise inclined to retain Perkins Coie to select counsel of their choice and to receive effective,

conflict-free assistance of counsel. A client can now be represented by Perkins Coie only if it is

willing to accept that the firm’s very ability to represent it is both functionally impaired and

opposed by the government, and if it is willing to take significant risk with respect to its own

government contracts.

       This burdening of the exercise of a constitutional right to counsel is itself unconstitutional.

Additionally, in explicitly attempting to justify its hobbling of Perkins Coie and interference in the

rights of the firm’s clients by citing the firm’s prior representation of the current administration’s

political adversaries, the Executive Order only makes transparent the government’s larger aim of

quelling legal challenges to its policies. The Executive Order puts at grave risk not only the

fairness and integrity of the criminal justice system but the rule of law itself.




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                                 PRELIMINARY STATEMENT

         By punishing Perkins Coie based on its past representation of clients whom the current

administration disfavors, President Donald J. Trump’s Executive Order rejects Sixth Amendment

principles that are foundational to the American legal system. For centuries, there has been a

broad, non-partisan consensus that our adversarial legal system works only when litigants are

permitted to hire counsel of their choice to defend their interests, with those counsel able to

represent those interests zealously and without fear of punishment.

         The Executive Order—the purpose, justification, and terms of which are unprecedented—

compromises the constitutional right to counsel in three related but distinct ways.

         First, the Executive Order deprives clients of counsel of choice by impairing the ability of

Perkins Coie to provide legal services vital to any criminal defendant. Under the Executive Order,

Perkins Coie attorneys cannot effectively confer with federal prosecutors in government

buildings—indeed, in oral argument before this Court, the government even refused to rule out

that the Executive Order bars Perkins Coie lawyers from entering federal courthouses. 2 The

Executive Order also punishes clients that opt for Perkins Coie as their counsel by putting their

government contracts in jeopardy. These sanctions make it virtually impossible for a client or

potential client in any federal criminal matter to retain Perkins Coie, unless the client is willing to

accept a lawyer hobbled by the limitations imposed by the Executive Order.

         Second, the Executive Order creates a conflict between the interests of Perkins Coie and

its clients, because threatening Perkins Coie’s attorneys with retribution for acting in their client’s

best interest forces counsel to choose between providing the best defense to their client and

protecting their own business. By doing this to Perkins Coie and its clients, the Executive Order



2
    See ECF No. 22 (“TRO Tr.”) at 23-26, 51:11-52:12.

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creates a conflict of interest between all criminal defense lawyers and their clients, as no one knows

which firm will be the next one targeted by the administration.

       Third, the Executive Order signals to the entire legal profession that accepting politically

controversial cases (or those that the current administration perceives or deems controversial) will

carry professional, financial and institutional risks—risks that will inevitably discourage lawyers

from taking on those cases. The Executive Order in this way, too, reduces the choice of zealous

counsel available to accused persons and erodes the independence of the defense function, which

in turn safeguards “a fair system of justice.” Gideon v. Wainwright, 372 U.S. 335, 344 (1963).

       The principles at stake in this lawsuit are older than the Nation itself. Before there was a

Sixth Amendment, John Adams’s defense of British perpetrators of the Boston Massacre in their

1770 criminal trial embodied the principles later set forth in the Sixth Amendment. Adams

explained that his decision to take on this controversial matter resulted in “Anxiety, and Obloquy

enough.” 1773. March 5th. Fryday [from the Diary of John Adams], Founders Online, National

Archives, https://founders.archives.gov/documents/Adams/01-02-02-0003-0002-0002.                Even

while Adams’s clients were despised as murderers in his community of Boston, Adams presented

a strong and persuasive defense that led his clients to be acquitted outright or convicted of lesser

offenses, sparing them the death penalty. Adams regarded his representation of those accused of

perpetrating the Boston Massacre as “one of the most gallant, generous, manly and disinterested

Actions of my whole Life, and one of the best Pieces of Service I ever rendered my Country.” Id.

He later wrote in his autobiography that “Persons whose Lives were at Stake ought to have the

Council they preferred … and that every Lawyer must hold himself responsible not only to his

Country, but to the highest and most infallible of all Trybunals for the Part he should Act.” 1770




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[from     the   Autobiography      of   John    Adams],      Founders     Online,    National Archives,

https://founders.archives.gov/documents/Adams/01-03-02-0016-0016.

          Chief Justice John G. Roberts carried on this noble tradition when he was in private

practice, representing “criminal defendants and indigents” pro bono. George W. Bush White

House Archives, Judicial Nominations: Chief Justice John G. Roberts, https://georgewbush-

whitehouse.archives.gov/infocus/judicialnominees/roberts.html. As the future Chief Justice stated

at his 2005 confirmation hearing, another important principle vindicated by Adams’s

representation was that a lawyer who advocates for his client should not be held responsible for

the views or actions of his client:

                 [I]t’s a tradition of the American Bar that goes back before the
                 founding of the country that lawyers are not identified with the
                 positions of their clients. The most famous example probably was
                 John Adams, who represented the British soldiers charged in the
                 Boston Massacre. He did that for a reason, because he wanted to
                 show that the Revolution in which he was involved was not about
                 overturning the rule of law, it was about vindicating the rule of
                 law. . . . [The] principle, that you don’t identify the lawyer with the
                 particular views of the client, or the views that the lawyer advances
                 on behalf of the client, is critical to the fair administration of justice.

Confirmation Hearing on the Nomination of John G. Roberts, Jr., To Be Chief Justice of the United

States, Hearing Before The Committee on the Judiciary, United States Senate, 109th Cong. 254

(2005).

          As discussed in this brief, the Sixth Amendment protects the right of the people to retain

counsel of choice and to have conflict-free counsel who will not be punished for taking aggressive

positions on behalf of their client. It guarantees the right to defend oneself from government

accusation without fear of retribution. By contrast, the unprecedented Executive Order undercuts

the Sixth Amendment and knocks away the foundational rule-of-law principle that has guided

American lawyers from John Adams to John Roberts.


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       The infringement of constitutional rights has not stopped with the Executive Order. Thus

far, the administration has targeted several other firms in addition to Perkins Coie, notwithstanding

the temporary restraining order issued by this Court. 3 Absent a final order invalidating the

Executive Order, other firms already have faced—and likely will continue to face—similar

sanctions and retribution. Any form of punishment or retaliation against attorneys who are only

doing their job in our adversarial legal system cuts against our Nation’s most deeply held values

and traditions. It chills both attorney advocacy and court review of legal challenges those attorneys

might bring. Amici therefore urge the Court to grant Plaintiff’s motion for summary judgment.

                                           ARGUMENT

I.     The Executive Order Undermines The Sixth Amendment Right To Select Counsel Of
       Choice By Impairing Perkins Coie’s Ability To Provide Legal Services

       The Executive Order is unconstitutional because it interferes with the Sixth Amendment

rights of potential and existing clients of Perkins Coie to be represented by counsel of their choice.

The Order obstructs clients from electing to be represented by Perkins Coie by disparaging the

firm, making clear that the government (the client’s adversary in a federal criminal case) is ill-

disposed toward the firm, and imposing limits on Perkins Coie’s ability to provide effective

representation. This treatment of Perkins Coie flouts the many decisions guarding the Sixth

Amendment right of individuals to choose their counsel and holding the government accountable




3
  See Addressing Risks from Jenner & Block, Exec. Order No. 14246 (Mar. 25, 2025); Addressing
Risks from WilmerHale, Exec. Order No. 14250 (Mar. 27, 2025). Like Perkins Coie, the other
firms targeted in these orders have sued to vindicate their rights. See Jenner & Block LLP v. U.S.
Dep’t of Justice, et al., No. 25-cv-00916 (D.D.C.); Wilmer Cutler Pickering Hale and Dorr LLP
v. Exec. Off. of the President, et al., No. 25-cv-00917 (D.D.C.).

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when it improperly interferes with that right. This Court should follow the Sixth Amendment and

this line of authority by permanently enjoining the Executive Order.

       The Sixth Amendment provides that “[i]n all criminal prosecutions, the accused

shall . . . have the Assistance of Counsel for his defence.” U.S. Const. amend. VI; see Powell v.

Alabama, 287 U.S. 45, 53 (1932). At the “root . . . of the constitutional guarantee” of the right to

counsel is the “right to select counsel of one’s choice.” United States v. Gonzalez-Lopez, 548 U.S.

140, 147–48 (2006). In other words, the accused has “the right to be represented by an otherwise

qualified attorney whom that defendant can afford to hire.” Caplin & Drysdale, Chartered v.

United States, 491 U.S. 617, 624 (1989). The Constitution “commands . . . that the accused be

defended by the counsel he believes to be best.” Gonzalez-Lopez, 548 U.S. at 146. This right to

counsel of choice is “fundamental” in light of “the necessarily close working relationship between

lawyer and client, the need for confidence, and the critical importance of trust.” Luis v. United

States, 578 U.S. 5, 11–12 (2016). Accordingly, courts have closely scrutinized government action

that interferes with the right to choose one’s own counsel and have often deemed such government

action a violation of the Sixth Amendment.

       For example, in United States v. Stein, 541 F.3d 130 (2d Cir. 2008), the Second Circuit

held that prosecutorial actions taken pursuant to the “Thompson Memorandum”—a Department

of Justice policy statement setting forth principles for the prosecution of corporations—violated

the Sixth Amendment by interfering with the right of corporate employees under criminal

investigation to choose their own counsel. The Thompson Memorandum encouraged prosecutors

to consider, in determining whether a corporation cooperated with a government investigation,

whether the corporation was “protecting its culpable employees and agents” by

“advancing . . . attorneys fees.” Id. at 136. Under pressure from prosecutors acting pursuant to



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the Thompson Memorandum, a major international accounting firm under investigation for tax-

related crimes tightened its policy on paying legal fees for employees under criminal investigation,

and after the government indicted several of the accounting firm’s employees, the accounting firm

stopped advancing legal fees to the indicted employees. Id. at 138–40. The employees moved to

dismiss the indictment, arguing that the government had violated their Sixth Amendment rights by

inducing their employer to withhold legal fees it otherwise would have provided, which in turn

interfered with the employees’ ability to retain counsel of their choice. Id. at 140–42.

       The Second Circuit agreed that the government violated the Sixth Amendment and

affirmed a district court decision dismissing the indictment as a sanction. It explained that “the

right to counsel in an adversarial legal system would mean little if defense counsel could be

controlled by the government or vetoed without good reason.” Id. at 154. It went on to explain

that the government’s actions amounted to an effective veto of the employees’ choice of counsel

because the employees could not pay for their preferred counsel without financial support from

the accounting firm, and they would have had the necessary financial support but for the

government’s pressure campaign. Id. at 153, 157. In the years since Stein, other courts have

reaffirmed its core principle: the Sixth Amendment “prohibits the government from interfering

with . . . obligations to fund a defense” to the extent that such interference deprives a defendant of

counsel of choice. See, e.g., United States v. Shelton, No. 23-cr-00258-JSC-1, 2024 WL 4520944,

at *3 (N.D. Cal. Oct. 17, 2024).

       Similarly, in United States v. Amlani, 111 F.3d 705 (9th Cir. 1997), the Ninth Circuit held

that, the government may violate the Sixth Amendment by attempting to influence an individual’s

choice of counsel through a campaign of disparagement. In that case, Amlani alleged that “the

prosecutor repeatedly disparaged his original chosen trial counsel . . . in front of him” during



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pretrial proceedings by claiming that his chosen counsel “did not care about [him], was not

competent, and could not prevent [his] conviction.” Id. at 710. He further claimed that this

disparagement campaign “violated the Sixth Amendment because it caused him to change to a

different and less competent counsel for trial.” Id. The Ninth Circuit agreed that this conduct, if

proven, would violate the Sixth Amendment.            It explained that the government cannot

“effectively . . . veto defendant’s choice of counsel by intentionally undermining his confidence in

the attorney-client relationship through disparagement.” Id. at 711.

       As with the government actions in Stein and Amlani, which sought to control an

individual’s choice of counsel indirectly through financial pressure or disparagement, the

Executive Order seeks to “control” or “veto,” Stein, 541 F.3d at 134—albeit similarly indirectly—

the choice-of-counsel decisions of Perkins Coie clients through a variety of measures targeted at

both Perkins Coie and its clients.      But “the government cannot interfere with [the Sixth

Amendment] right directly, and a government official cannot do indirectly what she is barred from

doing directly.” TRO Tr. at 94 (citing Nat’l Rifle Ass’n v. Vullo, 602 U.S. 175 (2024)).

       The Order disparages Perkins Coie—unjustifiably—calling the firm “dishonest and

dangerous” and accusing it of “undermining democratic elections.” This sort of disparagement

will have—and already has had—the effect of discouraging clients from hiring Perkins Coie or

causing clients to sever existing representations, in violation of the Sixth Amendment principles

set out in Amlani. See ECF No. 2-1 (Pl.’s Mem. in Supp. of Mot. for TRO) at 8 (describing how

“multiple clients terminated engagements with Perkins Coie as a result of the order”).

       The Executive Order also obstructs and discourages potential clients from hiring Perkins

Coie by prohibiting the firm’s attorneys from providing the “effective assistance of counsel”

guaranteed by the Sixth Amendment. Strickland v. Washington, 466 U.S. 668, 686 (1984)



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(emphasis added). For example, by prohibiting government employees from communicating with

Perkins Coie attorneys and barring Perkins Coie attorneys from entering government buildings

(potentially including courthouses), the Executive Order prevents Perkins Coie attorneys from

accomplishing basic tasks essential to representing clients in federal criminal cases. ECF No. 39-

1 (Pl.’s Mem. in Supp. of Mot. for Summ. J.) at 29 (“Unless permitted to ‘engag[e] with’

government officials and ‘access’ government buildings, Firm attorneys cannot negotiate with

prosecutors, resolve discovery disputes, accompany clients to meetings, or proceed past Executive

Branch officers guarding the courthouse doors.” (citations omitted)).

        The Executive Order therefore presents Perkins Coie’s potential and current clients with

a Hobson’s choice—either they retain or continue to retain their chosen counsel even after that

counsel has been hamstrung by government interference or they forfeit their Sixth Amendment

right to counsel of choice and hire another attorney under duress, in the hopes of finding one who

has not been barred by the government from providing effective assistance.

       There are over 100,000 companies that are federal contractors, 4 who may find themselves

in the crosshairs of a corporate prosecution, or even simply need counsel to respond to a grand

jury subpoena. Those firms which are clients or potential clients of Perkins Coie also face an

impossible dilemma. By requiring federal contractors to disclose their relationships with Perkins

Coie and ordering an “assessment of contracts” with federal contractors represented by the firm,

the Executive Order makes it financially untenable for federal contractors to select counsel of

choice. Federal contractors will need to either forgo representation by preferred Perkins Coie




4
 See Archisha Mehan, Federal Contract Awards Hit $773.68B in FY24, Small Businesses See $4B
Increase, GovSpend (Feb. 24, 2025), https://govspend.com/blog/federal-contract-awards-hit-773-
68b-in-fy24-small-businesses-see-4b-increase.

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counsel or risk losing their potentially lucrative government contracts. 5 Stein held that similar

kinds of financial pressure, aimed at influencing a defendant’s choice of counsel, are incompatible

with the Sixth Amendment.

        None of these risks are hypothetical. Perkins Coie has already been impaired in its ability

to confer with government officials on behalf of its clients, including its criminal defense clients.

ECF No. 2-1 at 8. Other firms facing similar executive orders—and their clients—have faced

similar consequences. For example, a client of another firm that had been targeted by a very

similar executive order and was facing criminal charges elected to engage new counsel on the eve

of trial based on concerns about his lawyers’ disfavored status. See Mem. in Supp. of Mot. to

Withdraw as Counsel for Def. Steven Schwartz, United States v. Coburn, No. 19-cr-00120 (MEF)

(D. N.J. Mar. 19, 2025), ECF No. 1012-1. If the Sixth Amendment means anything, it means that

the government cannot pressure a person who is imminently on trial for his liberty to sever his

relationship with chosen counsel.

II.     The Executive Order Violates The Sixth Amendment Right To Effective Assistance
        Of Counsel By Creating Conflicts Of Interest Between The Firm And The Client

        The Executive Order not only infringes upon the right to counsel of choice, but it also

dramatically undermines the Sixth Amendment right to the effective assistance of counsel by

creating a conflict of interest between the attorney and the client. By threatening attorneys with

potential retribution for acting in their clients’ best interest, the Executive Order places criminal

defense attorneys in an impossible position, forcing them to choose between zealous advocacy for

their clients and self-preservation. This conflict of interest strikes at the heart of the constitutional


5
  This provision of the Executive Order also presents serious problems for the attorney-client
privilege. Say Perkins Coie has been hired by a federal contractor to conduct a sensitive and
confidential internal investigation that could reveal criminal exposure. Requiring the contractor
to disclose its relationship with the firm, a fact that is itself potentially privileged, could expose
that information to the government and the public.

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right to conflict-free counsel and likewise compromises the attorney’s ethical duty of loyalty and

the integrity of our adversarial system of justice.

        An essential component of the Sixth Amendment right to effective assistance of counsel is

the assurance that counsel is free from conflicts of interest. See Wood v. Georgia, 450 U.S. 261,

271 (1981) (“Where a constitutional right to counsel exists, our Sixth Amendment cases hold that

there is a correlative right to representation that is free from conflicts of interest.”); Von Moltke v.

Gillies, 332 U.S. 708, 725 (1948) (“The right to counsel guaranteed by the Constitution

contemplates the services of an attorney devoted solely to the interests of his client.”).

        The importance of conflict-free counsel cannot be overstated. The “duty of loyalty, a duty

to avoid conflicts of interest” is “perhaps the most basic of counsel’s duties.” Strickland, 466 U.S.

at 688, 692. “Undivided allegiance and faithful, devoted service to a client are prized traditions of

the American lawyer.” Von Moltke, 332 U.S. at 725–26. Moreover, “guaranteeing conflict-free

counsel protects not just defendants’ rights, but also the “[f]ederal courts[’] ... independent interest

in ensuring that criminal trials are conducted within the ethical standards of the [legal] profession

and that legal proceedings appear fair to all who observe them.” United States v. Lopesierra-

Gutierrez, 708 F.3d 193, 200 (D.C. Cir. 2013) (quoting Wheat v. United States, 486 U.S. 153, 160

(1988)). When an attorney’s interests conflict with a client’s interests, the fairness of the justice

system—and even the appearance of any fair system—collapses.

        The Executive Order creates a dangerous conflict of interest for criminal defense attorneys.

By threatening investigation of, and retribution against, law firms that vigorously advocate for

their clients, the Executive Order undermines an attorney’s duty of loyalty to her client and creates

the most pernicious kind of conflict—alignment with, and potentially loyalty to, the opposing

party: namely, the government. The fear of government reprisal will inevitably lead attorneys to



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temper their advocacy. See, e.g., Armienti v. United States, 234 F.3d 820, 825 (2d Cir. 2000) (“A

lawyer in these circumstance[s], while dealing on behalf of his client with the office that is

prosecuting him personally may, consciously or otherwise, seek the goodwill of the office for his

own benefit. A lawyer’s attempt to seek the goodwill of the prosecutor may not always be in the

best interest of the lawyer’s client.”). Lawyers will have reasons to fear pushing too hard against

the government on their client’s behalf. They will be forced to weigh their professional and ethical

obligations to advance their client’s interests against the risk of personal and professional ruin.

This divided loyalty is the essence of a conflict of interest and undermines the adversarial nature

of our justice system.

       Courts have repeatedly emphasized the dangers to the Sixth Amendment right to counsel

arising from a criminal defense lawyer’s concern about being personally implicated in a

government investigation. Indeed, as the D.C. Circuit has observed, “Whenever an attorney is or

is likely to be the subject of a criminal investigation, courts worry that he might attempt to curry

general favor with the government by pulling punches.” Lopesierra-Gutierrez, 708 F.3d at 201.

Such a conflict of interest prevents a lawyer from providing effective assistance. For example, in

Solina v. United States, 709 F.2d 160 (2d Cir. 1983), where defense counsel was engaging in the

crime of representing his client without a law license, the court recognized that effective assistance

of counsel requires an attorney to “be wholly free from fear of what might happen if a vigorous

defense should lead the prosecutor” to investigate the attorney. Id. at 164; see also United States

v. Fulton, 5 F.3d 605, 613 (2d Cir. 1993) (warning that a conflict arising from an attorney’s

“powerful self-interest in avoiding criminal charges or reputational damage” violates the

Sixth Amendment).




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        The Executive Order here instills in criminal defense attorneys precisely the type of fear

and self-interest that courts warn against. “[A] criminal defendant is entitled to be represented by

someone free from such constraints.” Solina, 709 F.2d at 164; see also United States v. Levy, 25

F.3d 146, 156 (2d Cir. 1994) (holding that a conflict based in part on the attorney’s status as a

defendant in an unrelated criminal proceeding amounted to an actual conflict of interest because

the attorney “may have believed he had an interest in tempering his defense of [the client] in order

to curry favor with the prosecution, perhaps fearing that a spirited defense of [the client] would

prompt the Government to pursue the case against [the attorney] with greater vigor.”); cf. United

States v. McLain, 823 F.2d 1457, 1463–64 (11th Cir. 1987) (holding that when trial counsel was

under investigation by the same United States Attorney’s Office that was prosecuting counsel’s

client, an actual conflict of interest existed); Briguglio v. United States, 675 F.2d 81, 82 (3d Cir.

1982) (holding that where trial counsel was under investigation by the same United States

Attorney’s Office that was prosecuting counsel’s client, evidentiary hearing was required to

determine if “counsel labored under an actual conflict of interest, whether any such conflict may

have affected the adequacy of his representation, or whether [the client’s] defense was prejudiced

by his counsel’s difficulties”).

        The conflict created by the Executive Order is immediate and sweeping. The Executive

Order itself demonstrates that even undertaking to represent any individual or company out of

favor with the current President, or viewed as a political enemy of the current administration, will

cause the firm to labor under a conflict of interest. For any such client, the firm can only advocate

for the client at risk to its own well-being. The chilling of zealous advocacy–in criminal defense

representations and beyond to other challenges to government authority and policies—will be the

inevitable effect.



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        Specific examples of how the conflict of interest risks impairing zealous representation—

at all phases of a criminal representation—are numerous. For instance, because of the risk of

government retaliation, an attorney may advise a client to accept a plea deal prematurely or on less

favorable terms; be hesitant to challenge unlawful searches or seizures or prosecutorial overreach;

feel constrained during cross-examination of government witnesses; and be less inclined to argue

forcefully for a lower sentence. The core functions of the criminal defense lawyer simply cannot

be carried out if the Executive Order is allowed to stand.

        The Constitution, the rules of ethics, and the case law recognize that the power of the

government is such that lawyers cannot fully represent their clients’ interests if they face the

possibility of government reprisal and backlash. The Executive Order thus unjustifiably injects a

conflict of interest into any criminal representation that Perkins Coie might undertake.

III.    The Executive Order Is Unconstitutional Because It Diminishes The Availability Of
        Counsel And Chills A Vital Bulwark Against Arbitrary State Action

        Finally, the message that the Executive Order sends to the legal profession at large—and

the means by which that message itself dissuades counsel from undertaking representations they

might otherwise undertake—is without precedent and represents a fundamental threat to the

profession and the rule of law.

        The Executive Order warns all lawyers that accepting politically controversial cases (or

those that the current administration may perceive as controversial) will carry risks to their

reputations and livelihoods. These risks will inevitably discourage lawyers from taking on those

cases. The Executive Order in this way simply drives counsel—perhaps zealous counsel most of

all—out of the pool of attorneys otherwise available to those accused of crimes.

        This threat goes beyond individual criminal cases and threatens the legal system as a whole.

Criminal defense counsel are far more than a necessary component of the administration of


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criminal law. As the the Supreme Court has recognized, the Sixth Amendment is one of the

constitutional amendments that serve to “insure fundamental human rights of life and liberty,” and

without which justice cannot be achieved. Gideon, 372 U.S. at 343 (quoting Johnson v. Zerbst,

304 U.S. 458, 462 (1938)). The right to counsel is—most fundamentally—a bulwark against

arbitrary action by a powerful and resourced state. See id. at 344. Defense counsel, no less than

prosecutors and judges, are necessary to upholding the “noble ideal” of equality before the law

and “to protect the public’s interest in an orderly society.” Id.

       The Executive Order’s purpose and consequence is to intimidate law firms and lawyers

into silence and submission. The Executive Order accomplishes these aims by violating the Sixth

Amendment and undercutting one of the pillars of an orderly society and accordingly should be

declared unlawful.

                                          CONCLUSION

       The Sixth Amendment right to counsel is the cornerstone of our adversarial system of

justice and a vital safeguard against the power of the government. The Executive Order threatens

the integrity of our criminal justice system and should be struck down on that basis alone. Beyond

that, the aim and inevitable consequence of the Executive Order—to inhibit those who represent

perceived political enemies from challenging exercises of government authority not limited to

criminal prosecutions—is equally insidious and unlawful. Perkins Coie’s motion for summary

judgment should be granted.




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                                            Respectfully submitted,

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